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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,


        v.
                                                          Criminal Action No. PX-19-0181
 RONDELL HENRY

        Defendants.


                                   SCHEDULING ORDER

        For the reasons stated during the today’s status conference, and with agreement of the
parties, the Court issues the following deadlines:

       October 15, 2021                 Government Motion

       November 12, 2021                Defendant’s Response

       November 26, 2021                Government Reply

       December 6, 2021                 Virtual Motions Hearing
       (10:00 a.m. – 3:00 p.m.)



       Dated: September 14, 2021                                /S/
                                                    Paula Xinis
                                                    United States District Judge
